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4
     Attorney for Defendant
5    JAMIE RAMON FUENTES MARTINEZ

6
                          IN THE UNITED STATES DISTRICT COURT
7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,              )   Case No.: 2:15 CR 140 MCE
10                                          )
                      Plaintiff,            )   STIPULATION AND ORDER CONTINUING
11                                          )   JUDGMENT AND SENTENCING
     vs.                                    )
12                                          )   Date: January 24, 2019
     JAMIE RAMON FUENTES MARTINEZ,          )   Judge: Hon. Morrison C. England, Jr.
13                                          )   Time: 10:00 a.m.
                      Defendant.            )
14                                          )

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16         The parties hereby stipulate the following:

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           1. Judgment and sentencing in this matter was previously set for
18
             December 13, 2018.     The defense requests the date for judgment and
19
             sentencing be continued from December 13, 2018 to January 24, 2019
20
             at 10:00 a.m.   Assistant U.S. Attorney Amanda Beck has been advised
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             of this request and has no objection.     U.S. Probation has also been
22
             advised of this request.    The parties request the Court adopt the
23
             following schedule pertaining to the presentence report:
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             Judgment and Sentencing date:                                  1/24/19
25
             Reply, or Statement of Non-Opposition:                         n/a
26
             Motion for Correction of the Presentence Report
27           Shall be filed with the Court and served on the
             Probation Officer and opposing counsel no later
28           than:                                                          n/a
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1
               The Presentence Report shall be filed with the
2              Court and disclosed to counsel no later than:               n/a

3              Counsel’s written objections to the Presentence
               Report Shall be delivered to the probation officer
4              and opposing Counsel no later than:                         n/a

5              The Presentence Report shall be filed with the
               Court And disclosed to counsel no later than:               n/a
6

7

8    Dated:   December 11, 2018                   /s/ John R. Manning
                                                  JOHN R. MANNING
9                                                 Attorney for Defendant
                                                  Jamie Ramon Fuentes Martinez
10

11   Dated:   December 11, 2018                   McGregor W. Scott
                                                  United States Attorney
12
                                                  by: /s/ Amanda Beck
13                                                AMANDA BECK
                                                  Assistant United States Attorney
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15

16                                        ORDER

17        IT IS SO ORDERED.

18   Dated:   December 29, 2018

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